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Exhibit 1

Disclosure Statement Hearing Notice
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,' Case No. 14-10979 (CSS)

Debtors. Jointly Administered

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NOTICE OF EFH DISCLOSURE STATEMENT HEARING

PLEASE TAKE NOTICE THAT on July 7, 2017, Energy Future Holdings Corp. (“EFH
Corp.”), certain of its direct and indirect subsidiaries (together with EFH Corp., the “EFH
Debtors”),* Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc.
(together with EFIH, the “EFIH Debtors,” and together with the EFH Debtors, the “EFH/EFIH
Debtors”) filed the (i) Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11
of the Bankruptcy Code (as may be modified, amended, or supplemented from time to time, the
“Plan’’); (ii) the Disclosure Statement for the Joint Plan of Reorganization of Energy Future
Holdings Corp., Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors
Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules thereto (as
may be modified, amended or supplemented from time to time, the “EFH Disclosure Statement”);3
and (iii) the Motion of the EFH/EFIH Debtors for Entry of an Order (A) Approving the EFH
Disclosure Statement, (B) Establishing the Voting Record Date, Voting Deadline, and Other
Dates, (C) Approving Procedures for Soliciting, Receiving, and Tabulating Votes on the Plan, and
(D) Approving the Manner and Forms of Notice and Other Related Documents.

PLEASE TAKE FURTHER NOTICE THAT a hearing (the “EFH Disclosure Statement ©
Hearing”) will commence before the Honorable Christopher S. Sontchi, United States Bankruptcy
Judge, on August 11, 2017, at 10:00 a.m., prevailing Eastern Time, in the United States

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

3 Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan or EFH
Disclosure Statement.
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Bankruptcy Court for the District of Delaware, 824 North Market Street, Fifth Floor, Courtroom
6, Wilmington, Delaware 19801, (the “Court”), to consider the entry of an order (a) approving the
EFH Disclosure Statement; (b) approving solicitation packages and procedures for the distribution
thereof; (c) approving the forms of ballots and manner of notice; (d) approving the voting record
date, solicitation deadline and voting deadline; (e) establishing notice and objection procedures for
confirmation of the Plan; and (f) granting other related relief. Please be advised that the EFH
Disclosure Statement Hearing may be continued from time to time by the Court or the Debtors
without further notice other than by such adjournment being announced in open court or by a notice
of adjournment filed with the Court and served on the list of parties entitled to notice.

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
EFH Disclosure Statement, the Plan, or related documents, you should contact Epiq Bankruptcy
Solutions, LLC, the voting and claims agent retained by the Debtors in these Chapter 11 Cases,
by: (a) calling the Debtors’ restructuring hotline at (877) 276-7311; (b) visiting the Debtors’
restructuring website _at: _http://Awww.efhcaseinfo.com; and/or (c) emailing
efhvote@epiqsystems.com and referencing “EFH/EFIH” in the subject line. You may also obtain
copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.deb.uscourts.gov.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
EFH/EFIH Disclosure Statement is August 4, 2017, at 4:00 p.m., prevailing Eastern Time. Any
objections to the relief sought at the EFH Disclosure Statement Hearing must: (a) be made in
writing; (b) conform to the Bankruptcy Rules, the Local Rules and any orders of the Court; (c) state
with particularity the legal and factual basis for the objection and if practicable, a proposed
modification to the EFH Disclosure Statement (or related materials) that would resolve such
objection; and (d) be filed with the Court (contemporaneously with a proof of service) and served
upon the following parties so as to be actually received on or before August 4, 2017, at 4:00 p.m.,
prevailing Eastern Time:

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Attn: Stephen E. Hessler, P.C. Attn: Daniel J. DeFranceschi, Esq.
Attn: Brian E. Schartz, Esq. Attn: Jason M. Madron, Esq.
Attn: Aparna Yenamandra, Esq. 920 North King Street
601 Lexington Avenue Wilmington, Delaware 19801

New York, New York 10022

Attn: James H.M. Sprayregen, P.C.
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Co-Counsel to the Debtors

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Co-Counsel to Energy Future Intermediate Holding Company LLC

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Attn: Andrea B. Schwartz, Esq.
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Wilmington, Delaware 19801

SULLIVAN & CROMWELL LLP MONTGOMERY, MCCRACKEN, WALKER, &
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Attn: Brian D. Glueckstein, Esq. Attn: Natalie D. Ramsey, Esq.
Attn: Michael H. Torkin, Esq. Attn: Davis Lee Wright, Esq.
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Co-Counsel to the EFH Creditors’ Committee

Wilmington, Delaware

Dated:

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July 7, 2017

/s/_ Jason M. Madron
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